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   12
   13                     UNITED STATES DISTRICT COURT

   14       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

   15
   16 ROSE MCGOWAN,                              CASE NO. 2:19-cv-09105-ODW-JPR

   17             Plaintiff,                     The Hon. Otis D. Wright II

   18       v.                                   DEFENDANT B.C. STRATEGY
                                                 LTD.’S NOTICE OF MOTION AND
   19 HARVEY WEINSTEIN, DAVID                    MOTION TO DISMISS PURSUANT
      BOIES, BOIES SCHILLER FLEXNER              TO FEDERAL RULE OF CIVIL
   20 LLP, LISA BLOOM, THE BLOOM                 PROCEDURE 12(b)(6)
      FIRM, B.C. STRATEGIES LTD.                 [Proposed Order Submitted
   21 D/B/A BLACK CUBE,
                                                 Concurrently Herewith]
   22            Defendants.                     Date: June 14, 2021
   23                                            Time: 1:30 p.m.
                                                 Place: Courtroom 5D
   24
                                                 Trial Date:         None Set
   25
   26
   27
   28
                                                              Case No. 2:19-cv-09105-ODW-JPR
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    1                NOTICE OF MOTION AND MOTION TO DISMISS
    2 TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:
    3     PLEASE TAKE NOTICE that on June 14, 2021, at 1:30 p.m., or as soon
    4 thereafter as the matter may be heard in the Courtroom of the Honorable Otis D.
    5 Wright II, located at 350 West 1st Street, Los Angeles, California 90012, Defendant
    6 B.C. Strategy Ltd. d/b/a Black Cube (“Black Cube”) will and hereby does move the
    7 Court, pursuant to Federal Rule of Civil Procedure 12(b)(6) and 28 U.S.C.
    8 § 1367(c)(3), for an order dismissing each cause of action asserted against Black Cube
    9 in the instant action. As set forth in detail in the attached Memorandum, this Motion
   10 is made on the following grounds:
   11       1.     Plaintiff Rose McGowan fails to state a claim for violation of the
   12 Racketeer Influenced and Corrupt Organizations (“RICO”) Act, 18 U.S.C. § 1961, et
   13 seq. McGowan fails to allege facts that could constitute a pattern of racketeering
   14 activity or that could establish a RICO conspiracy. McGowan also fails to plead facts
   15 sufficient to establish that she has been injured in her business or property by reason
   16 of any RICO violation;
   17        2.     If the Court dismisses McGowan’s RICO claims, then it should dismiss
   18 the entire case under 28 U.S.C. § 1367(c)(3) and decline to exercise supplemental
   19 jurisdiction over McGowan’s remaining state claims;
   20        3.     McGowan has not pleaded an unlawful computer “access” under the
   21 Computer Data Access and Fraud Act (“CDAFA”), California Penal Code § 502, nor
   22 has she pleaded that she suffered the requisite damage or loss by reason of a CDAFA
   23 violation; and
   24        4.     McGowan fails to plead the elements of intentional infliction of
   25 emotional distress, including extreme and outrageous conduct, and any claim for
   26 intentional infliction of emotional distress is time-barred.
   27        This motion is based on this Notice of Motion and Motion; the accompanying
   28 Memorandum of Points and Authorities; the proposed order submitted herewith; the

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    1 pleadings on file herein; all matters of which this Court may take judicial notice; and
    2 such further evidence and argument as may be presented at the hearing on this Motion.
    3                       Statement of Local Rule 7-3 Compliance
    4        This motion is made following the conference of counsel pursuant to Local
    5 Rule 7-3 which took place on March 12, 2021. Counsel for Plaintiff stated that
    6 Plaintiff would oppose this motion.
    7
        DATED: March 23, 2021              Respectfully submitted,
    8
    9
   10                                      By:         /s/ Katherine B. Farkas
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                                                 Attorneys for Defendant B.C. Strategy Ltd.
   19                                            d/b/a Black Cube
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    1               MEMORANDUM OF POINTS AND AUTHORITIES
    2
                                PRELIMINARY STATEMENT
    3
    4        This Court previously dismissed nine of Plaintiff Rose McGowan’s eleven
    5 claims, including seven of the nine claims alleged against Defendant B.C. Strategy
    6 Ltd. (“Black Cube”). McGowan has attempted to replead several of her claims, but
    7 her Amended Complaint fails to cure the deficiencies that this Court identified in its
    8 dismissal order.
    9        Particularly with respect to her claims under the Racketeer Influenced and
   10 Corrupt Organizations Act (“RICO”), McGowan continues to rely on inadequate
   11 allegations regarding the same individuals, the same alleged scheme, the same
   12 purposes, and over the same time period as in her original complaint. Just as in her
   13 original complaint, McGowan alleges that, for more than twenty years, Defendant
   14 Harvey Weinstein used his network of powerful enablers to discredit McGowan and
   15 derail her career. See, e.g., Am. Compl. (“Compl.”), ECF 69, ¶ 156. But just as
   16 before, there is a jarring mismatch between this alleged decades-long campaign of
   17 misconduct, power, and influence; the harms that McGowan says resulted; and the
   18 conduct for which she seeks to hold Black Cube legally responsible.
   19      The conduct alleged in the Complaint, even accepted as true, does not support
   20 any of the legal claims that McGowan attempts to allege against Black Cube.
   21 McGowan’s RICO claims fail because the Complaint does not allege a pattern of
   22 racketeering activity, nor does it identify any harm to her “business or property” that
   23 could have been proximately caused by Black Cube’s investigation. If the Court
   24 dismisses McGowan’s RICO claims, no federal claims would remain in the case, and
   25 the Court should decline to exercise supplemental jurisdiction over the remaining state
   26 claims and dismiss the Complaint in its entirety. See 28 U.S.C. § 1367(c)(3).
   27       If the Court decides to exercise supplemental jurisdiction over McGowan’s
   28 remaining state claims, it should dismiss them with prejudice. McGowan’s claim

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    1 under California’s computer crimes statute fails because she never alleges a prohibited
    2 “access” of her computer, nor has she alleged any injury that could have been
    3 proximately caused by a computer intrusion. Finally, none of Black Cube’s alleged
    4 conduct supports a claim for intentional infliction of emotional distress (“IIED”), and
    5 even if McGowan had stated an IIED claim, it is barred by the statute of limitations.
    6       The Complaint should be dismissed in its entirety.
    7
                  SUMMARY OF ALLEGATIONS IN THE COMPLAINT
    8
    9        For purposes of this Motion only, Black Cube “[a]ccept[s] the allegations in
   10 the complaint as true, as we must” at this stage. Karczewski v. DCH Mission Valley
   11 LLC, 862 F.3d 1006, 1008 (9th Cir. 2017).
   12        McGowan alleges that she was raped by Defendant Weinstein in 1997. Compl.
   13 ¶ 17. In the years since, McGowan claims that a network of power brokers
   14 collaborated to protect Weinstein’s reputation against accusations of sexual
   15 misconduct made by her and other victims. Id. ¶¶ 21–22, 67.
   16      The Complaint is packed with vivid allegations about how this network
   17 operated to the detriment of McGowan’s career and reputation: Weinstein caused
   18 Amazon Studios to purchase the rights to a script from McGowan and kill it, id. ¶¶ 62–
   19 64; the National Enquirer regularly helped to suppress negative news stories about
   20 Weinstein, including about sexual assault, and in 2016 enticed someone to make
   21 damaging comments about McGowan, which it secretly recorded, id. ¶¶ 65–66;
   22 Weinstein enlisted Lisa Bloom to help “destroy McGowan’s [reputation],” id. ¶ 71;
   23 Weinstein caused McGowan to be arrested for possessing drugs, influenced her
   24 criminal-defense counsel to plead no contest, and used the drug charges to publicly
   25 discredit her, id. ¶¶ 75–82; Weinstein, David Boies, and others pressured NBC not to
   26 air reporting by Ronan Farrow, id. ¶ 107; Weinstein secretly worked with McGowan’s
   27 literary agents without her knowledge, id. ¶ 110; and Weinstein, Lisa Bloom, and
   28

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    1 others sought to discredit McGowan to reporters who were about to publish negative
    2 news stories about him, id. ¶ 138.
    3         McGowan dubs this sprawling network the “Weinstein Protection Enterprise,”
    4 and asserts that its activities have caused her a litany of losses, including “fees and
    5 costs paid to [her] literary agents; legal fees and costs associated with the criminal
    6 drug-possession case and with Weinstein’s efforts to prevent Brave’s publication;
    7 decreased book sales; lost employment opportunities; lost commercial opportunities
    8 including film, television, book, and other media projects; and harm to [her] business
    9 reputation.” Id. ¶¶ 152, 156. The vast majority of McGowan’s allegations about
   10 Weinstein’s network of enablers have nothing to do with Black Cube, and many of
   11 them are not asserted as a basis for McGowan’s claims against any of the Defendants
   12 in this case.
   13        The allegations McGowan makes about Black Cube relate to its alleged work
   14 gathering information about her book in advance of its publication. In October 2016,
   15 Weinstein’s attorneys at Boies Schiller Flexner LLP (“BSF”), including David Boies,
   16 allegedly hired Black Cube on Weinstein’s behalf. Id. ¶ 46. Weinstein, BSF, and
   17 Black Cube executed an initial engagement agreement in October 2016 and a second
   18 agreement in July 2017. Id. ¶¶ 46, 118. Although McGowan alleges that Black
   19 Cube’s engagement “had nothing to do with litigation or anticipated litigation,” id.,
   20 in fact both agreements expressly called for litigation support services, and the second
   21 agreement set a specific objective for Black Cube to obtain McGowan’s book in
   22 “legally admissible format.” Id. ¶ 119.
   23         Over several months in 2017, McGowan alleges that she was contacted
   24 intermittently by individuals working for Black Cube. Specifically, in January 2017
   25 McGowan took a call from a British reporter named Seth Freedman, who allegedly
   26 had been engaged “to get information about McGowan and her book.” Id. ¶ 87.
   27 McGowan did not know the true purpose of Freedman’s call. Id. Later in 2017,
   28 McGowan allegedly met several times with a woman who falsely identified herself as

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    1 Diana Filip, a representative of a London-based private wealth management firm. Id.
    2 ¶ 89–97, 122, 127, 129. During two meetings in May, McGowan and Filip both read
    3 portions of McGowan’s book manuscript from her laptop. Id. ¶ 96. Filip allegedly
    4 conveyed the contents of McGowan’s draft book to Weinstein, BSF, and Bloom. Id.
    5 ¶ 97.
    6       During the time period that Black Cube was conducting its investigation,
    7 McGowan alleges that Weinstein and various of his “agents” sought to publicly
    8 discredit her and to malign her to reporters. See, e.g., id. ¶¶ 137–38. McGowan never
    9 alleges that Black Cube participated in these activities; her factual allegations about
   10 Black Cube are limited to gathering information about her forthcoming book in its
   11 role as an investigator.
   12        McGowan’s Complaint now contains eight causes of action, of which six are
   13 directed at Black Cube: two RICO claims based on alleged wire fraud (Counts I &
   14 II), statutory and common law fraud claims (Counts III & IV), a claim under the
   15 California Computer Data Access and Fraud Act (Count VI), and a claim for IIED
   16 (Count VII). These claims each should be dismissed.
   17
                                       LEGAL STANDARD
   18
   19         To survive a motion to dismiss pursuant to Rule 12(b)(6), a complaint must
   20 plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.
   21 Corp. v. Twombly, 550 U.S. 544, 570 (2007). The facts alleged in the complaint,
   22 accepted as true, must “plausibly establish[] each element” of the plaintiff’s claims.
   23 Native Vill. of Kivalina v. ExxonMobil Corp., 696 F.3d 849, 867 (9th Cir. 2012).
   24         Under the heightened pleading standard set forth in Federal Rule of Civil
   25 Procedure 9(b), a plaintiff alleging fraud must plead the elements of her claims “with
   26 particularity.” Rule 9(b)’s heightened pleading standard applies to civil RICO fraud
   27 claims. Edwards v. Marin Park, Inc., 356 F.3d 1058, 1065–66 (9th Cir. 2004).
   28

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    1                                       ARGUMENT
    2
        I.    McGowan’s Complaint Should Be Dismissed in its Entirety.
    3
              The Court should dismiss McGowan’s RICO claims with prejudice. If the
    4
        RICO claims are dismissed, no federal claims would then remain, and because there
    5
        is no diversity of citizenship among the parties, there would be no basis for the Court’s
    6
        original jurisdiction. The Court should decline to exercise supplemental jurisdiction
    7
        over any remaining state claims and dismiss the Complaint in its entirety. 28 U.S.C.
    8
        § 1367(c)(3).
    9
   10         A.    McGowan Fails to State a Civil RICO Claim.
   11         Congress enacted RICO in 1970 “to seek the eradication of organized crime in
   12 the United States.” Organized Crime Control Act of 1970, Pub. L. No. 91-452, 84
   13 Stat. 922, 923 (1970). The statute’s applications all involve situations where criminal
   14 acts are a “regular way” of conducting a business. H.J. Inc. v. Nw. Bell Tel. Co., 492
   15 U.S. 229, 243, 245 (1989). Under the provisions of RICO that McGowan has
   16 invoked, it is unlawful “to conduct . . . [an] enterprise’s affairs through a pattern of
   17 racketeering activity” (Count I), or “to conspire” to do so (Count II). 18 U.S.C.
   18 § 1962(c)–(d). “To state a claim under [these provisions], a plaintiff must allege (1)
   19 conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity.”
   20 Sanford v. MemberWorks, Inc., 625 F.3d 550, 557 (9th Cir. 2010) (citation omitted).
   21       This Court previously dismissed McGowan’s Civil RICO claims because she
   22 failed to allege a continuous “pattern” of racketeering activity. See Dismissal Op.,
   23 ECF 66, at 14. McGowan’s Amended Complaint fares no better: regarding the RICO
   24 claims, it alleges essentially the same facts involving the same players over the same
   25 time period. Just as before, McGowan has failed to plead the sort of “continuing
   26 racketeering activity” that is necessary for a successful RICO claim. H.J. Inc. v. Nw.
   27 Bell Tel. Co., 492 U.S. 229, 241 (1989). In addition, McGowan has failed to allege
   28

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    1 that she was “injured in her business or property by reason of” a RICO violation so
    2 as to support RICO standing. 18 U.S.C. § 1964(c).
    3
                    1. McGowan has not alleged a “pattern of racketeering activity.”
    4
    5         The Amended Complaint misleadingly describes McGowan’s RICO claims as
    6 though they arise from a sprawling “Weinstein Protection Enterprise” that allegedly
    7 operated for decades with “countless victims.” Compl. ¶ 156. But as with the original
    8 Complaint, the real thrust of the alleged RICO claims is actually much narrower,
    9 focusing only on limited sporadic activity that spanned less than a year, with
   10 McGowan as the only victim. Because McGowan’s allegations again “reflect only a
   11 singular plan and purpose,” Dismissal Op. at 11, she has failed to allege a pattern of
   12 racketeering activity.
   13       A focused effort of less than a year, with a fixed end point, is not a “pattern” of
   14 racketeering activity. 18 U.S.C. § 1962(c). Establishing a “pattern” under RICO
   15 requires showing that predicate criminal acts “amount to, or . . . otherwise constitute
   16 a threat of, continuing racketeering activity.” H.J. Inc., 492 U.S. at 240 (emphasis in
   17 original). A RICO plaintiff must show either predicate criminal activity that “by its
   18 nature projects into the future with a threat of repetition” (“open-ended” continuity),
   19 or “a series of related predicates extending over a substantial period of time” (“closed-
   20 ended” continuity). Id. at 241–42.
   21      There can be no “open-ended” continuity here because (a) the objective of the
   22 alleged wire fraud was necessarily time-limited and (b) there is no plausible threat of
   23 ongoing racketeering activity. See Turner v. Cook, 362 F.3d 1219, 1230 (9th Cir.
   24 2004) (finding no open-ended continuity where alleged objective of collecting an
   25 outstanding judgment was “finite in nature” and “would cease once appellees
   26 collected” the judgment). As the Court observed regarding the original Complaint,
   27 “[n]either of Defendants’ purported goals—keeping Weinstein’s misconduct secret
   28 from the public or obtaining a copy of Brave before it was published—could be

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    1 pursued anew.” Dismissal Op. at 14. Nothing in the Amended Complaint gives
    2 reason to conclude any differently.
    3        Nor has McGowan alleged “closed-ended” continuity. Just as in the original
    4 Complaint, McGowan has alleged at most “a single alleged fraud with a single
    5 victim.” Dismissal Op. at 11 (quoting Medallion Television Enters., Inc. v. SelecTV
    6 of Cal., Inc., 833 F.2d 1360, 1364 (9th Cir. 1987)). Although McGowan attempted
    7 to identify additional victims, none of her new allegations points to any conceivable
    8 victim of the scheme alleged in the Complaint other than herself. For example,
    9 McGowan has added new allegations of an incident in 2015 involving an Italian
   10 model named Ambra Gutierrez, Compl. ¶¶ 30–35, during which Weinstein and Boies
   11 allegedly “communicate[d] by wire to further the aims of their racketeering
   12 enterprise.” Compl. ¶ 35. But although McGowan identifies Gutierrez as a victim of
   13 a sexual assault by Weinstein, she never identifies Gutierrez as a victim of fraud—
   14 the RICO predicate on which her claim relies. See Compl. ¶ 158.
   15       McGowan also fails in her attempt to identify various reporters as victims of
   16 Defendants’ supposed scheme. See Compl. ¶ 158 (alleging that scheme sought to
   17 obtain not only McGowan’s book, but also “intellectual property contained within
   18 various newspapers and magazines”). The facts that McGowan alleges related to
   19 reporters make clear that none of them was a victim: reporter Ben Wallace “stopped
   20 taking . . . calls” from one alleged Black Cube agent, Compl. ¶ 52, and “halted [his]
   21 conversations” with another, Compl. ¶ 54, without revealing any confidential
   22 information. Reporter Ronan Farrow likewise “declined to give details of his work”
   23 in a conversation with an alleged Black Cube agent. Compl. ¶ 58. Even if these
   24 reporters had become victims of fraud, at most McGowan still has alleged only “a
   25 single fraudulent effort, implemented by several fraudulent acts,” which does not
   26 amount to a pattern of racketeering activity. Dismissal Op. at 11 (citation omitted).
   27      McGowan also has not alleged “closed-ended continuity” because the supposed
   28 scheme that she identified was too short in duration and too sporadic to constitute a

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    1 “pattern” under RICO. “Congress was concerned in RICO with long-term criminal
    2 conduct,” and so “[p]redicate acts extending over a few weeks or months” will not
    3 suffice. Id. Although “there is no strict one-year rule,” Howard v. Am. Online Inc.,
    4 208 F.3d 741, 750 (9th Cir. 2000), the Ninth Circuit “ha[s] found no case in which a
    5 court has held the requirement to be satisfied by a pattern of activity lasting less than
    6 a year.” Religious Tech. Ctr. v. Wollersheim, 971 F.2d 364, 366–67 (9th Cir. 1992);
    7 see also id. at 366 (holding that six-month period was insufficient and citing Third
    8 Circuit case holding that eight-month period was insufficient); Jennings v. Auto Meter
    9 Prods., Inc., 495 F.3d 466, 474 (7th Cir. 2007) (ten-month period involving only a
   10 few predicate acts was too short); Prime Partners IPA of Temecula Inc. v. Chaudhuri,
   11 No. 5:11-cv-1860-ODW, 2012 WL 1669726, at *7 n.4 (C.D. Cal. May 14, 2012)
   12 (finding no closed-ended continuity where “neither of the criminal schemes
   13 [p]laintiffs allege[d] lasted more than a year”). Even activity spanning a full year can
   14 fail to establish closed-ended continuity if it is too sporadic. See Turner, 362 F.3d at
   15 1231 (finding no closed-ended continuity in a flurry of activity over a two-month
   16 period after sporadic activity over the preceding year).
   17       Here, the alleged RICO predicates do not amount to a continuous pattern. As
   18 with the original Complaint, “notably, every alleged predicate act of wire fraud
   19 identified in the Complaint was committed between October 28, 2016, and October
   20 23, 2017.” Dismissal Op. at 10. RICO’s remedies are reserved for cases where a
   21 defendant engages in a sustained, continuous pattern of racketeering activity that is
   22 entirely absent here. The Complaint still fails to allege the “continuing racketeering
   23 activity” necessary for a successful RICO claim. H.J. Inc., 492 U.S. at 241.1
   24
   25
   26
   27
        1
         Black Cube does not concede that the facts alleged in the Complaint amount to racketeering activity
   28
        at all, continuous or otherwise.
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    1               2. McGowan has not alleged economic injury “by reason of a
    2                  [RICO] violation.”
    3         Only a “person injured in h[er] business or property by reason of a [RICO]

    4 violation” may file a civil RICO lawsuit. 18 U.S.C. § 1964(c). “To have standing
    5 under § 1964(c), a civil RICO plaintiff must show: (1) that his alleged harm qualifies
    6 as injury to his business or property; and (2) that his harm was ‘by reason of’ the
    7 RICO violation, which requires the plaintiff to establish proximate causation.”
    8 Canyon Cty. v. Syngenta Seeds, Inc., 519 F.3d 969, 972 (9th Cir. 2008). An injury to
    9 business or property requires “concrete financial loss.” Id. at 975.
   10         McGowan’s only theory of injury relies on emotional distress as a necessary

   11 link, which is forbidden under RICO. A “personal injury,” like emotional distress,
   12 does not implicate “business or property” and is not compensable under RICO, even
   13 if it results in some measurable financial loss. Diaz v. Gates, 420 F.3d 897, 900 (9th
   14 Cir. 2005) (en banc); see also Kearney v. Foley & Lardner, LLP, 747 F. App’x 478,
   15 481 n.3 (9th Cir. 2018) (“Emotional distress damages are personal injuries that are
   16 not compensable under RICO.”). Similarly, and crucially, monetary losses that are
   17 “derivatives of . . . emotional distress” are “personal injuries” that do not qualify as
   18 injuries to business or property under RICO. Diaz, 420 F.3d at 900 (citation omitted;
   19 emphasis added).
   20      McGowan’s Complaint makes plain that all of her asserted injuries must be

   21 “derivatives of emotional distress,” otherwise, they have no connection whatsoever
   22 with the alleged RICO violation. The only connection McGowan attempts to draw
   23 between the Defendants’ alleged fraud and her injuries is that the asserted fraud
   24 “caused significant emotional trauma,” which in turn precipitated McGowan’s alleged
   25 monetary injuries. Compl. ¶ 151.
   26      For example, McGowan alleges that, around the time of her planned book

   27 release and book tour, the revelation of Defendants’ alleged conduct “took a
   28 substantial toll on McGowan’s mental health and wellbeing,” which caused

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    1 McGowan to “ha[ve] a mental breakdown” and “cancel[] the [book] tour.” Compl.
    2 ¶ 149. McGowan then cites the cancelled book tour as the source for many of her
    3 supposed monetary injuries. See Compl. ¶ 165 (noting “the interruption of
    4 McGowan’s book tour and resulting interference with her publisher and the many
    5 retailers involved in the book tour”). Some of McGowan’s other asserted monetary
    6 injuries likewise appear to be products of the cancelled book tour or McGowan’s
    7 emotional distress more generally. See id. (“decreased book sales”). Alleged injuries
    8 that flowed from McGowan’s emotional distress are “personal injuries” and cannot
    9 support a RICO claim.
   10        The only supposed monetary injuries connected to Defendants’ alleged wire
   11 fraud are plainly “derivatives of emotional distress.” The alleged wire fraud has no
   12 plausible connection to McGowan’s other asserted injuries: “fees and costs paid to
   13 McGowan’s literary agents,” “legal fees and costs,” “lost employment opportunities;
   14 lost commercial opportunities including film, television, book, and other media
   15 projects; and harm to McGowan’s business reputation.” Id. Nowhere does McGowan
   16 plead that these injuries “were the direct result” of a RICO violation, as she was
   17 required to do. Harmoni v. Int’l Spice, Inc. v. Hume, 914 F.3d 648, 654 (9th Cir.
   18 2019).
   19       For example, as to her claims of lost employment opportunities, lost
   20 commercial opportunities, and reputational harm, nowhere does McGowan describe
   21 the sort of detailed causal connection required under binding Ninth Circuit precedent.
   22 In Harmoni, the Ninth Circuit concluded that the RICO plaintiff “d[id] not plausibly
   23 allege proximate cause with respect to damages for lost sales or harm to [the
   24 plaintiff’s] business reputation,” because the complaint contained no facts showing
   25 that these harms “were the direct result” of the asserted RICO violation (which
   26 included false public accusations about the plaintiff). 914 F.3d at 653–54. The Court
   27 specifically identified the sort of detail that would be required to support RICO
   28 standing based on lost sales and reputational harm: “the circumstances under which

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    1 [the plaintiff’s] customers learned of the defendants’ false accusations and, in reliance
    2 on that false information, canceled purchases they were otherwise planning to make.”
    3 Id. at 654. McGowan never describes the circumstances of how any employment or
    4 commercial opportunity was lost as a result of Defendants’ alleged fraud—indeed,
    5 she never even identifies a specific lost employment or commercial opportunity at all.
    6 This deficiency is fatal.2
    7          As to her other asserted injuries—fees paid to literary agents and lawyers—
    8 McGowan again never explains their causal connection to Defendants’ alleged fraud.
    9 To the contrary, McGowan alleges that she hired her literary agent (and presumably
   10 began incurring fees) around May 2016, Compl. ¶¶ 38–39, months before she says
   11 she was first contacted in January 2017 in connection with efforts to obtain her book,
   12 Compl. ¶ 83. And McGowan alleges that she hired her attorney to defend her drug
   13 possession charges around June 2018, Compl. ¶ 80, months after her book was
   14 published in January 2018, Compl. ¶ 6.3
   15        Even in her own telling, none of McGowan’s asserted monetary injuries
   16 resulted from Defendants’ alleged RICO violations. The only connection McGowan
   17 even attempts makes clear that her injuries, as pled, are “derivatives of emotional
   18 distress” and thus cannot support RICO standing.
   19                                          *       *        *
   20          McGowan has not pleaded that Defendants’ investigative efforts amounted to
   21 a “pattern of racketeering activity,” nor has she pleaded that she was “injured in h[er]
   22
   23   Harm to McGowan’s business reputation would not support RICO standing even if she had pled
        2

      that such harm was directly caused by a RICO violation. “[R]eputational harm does not constitute
   24 an injury to a business or property interest sufficient to support RICO standing.” Planned
      Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress, 214 F. Supp. 3d 808, 820 (N.D. Cal. 2016).
   25 But see Harmoni, 914 F.3d at 653 (leaving this issue undecided).
   26  The Complaint references another unnamed attorney, to whom an attorney of Weinstein’s directed
        3

      an offer of $1 million for McGowan to drop publication of her forthcoming book. Compl. ¶ 132.
   27 McGowan never explains how any fees she paid to this attorney were plausibly a direct result of
   28 Defendants’ alleged RICO violations.

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    1 business or property by reason of” any RICO violation. Her RICO claims must be
    2 dismissed with prejudice.4
    3
              B.    The Court Should Decline to Exercise Supplemental Jurisdiction
    4
                    Over McGowan’s Remaining State Law Claims.
    5
              A district court “may decline to exercise supplemental jurisdiction” over any
    6
        remaining state law claims if it “has dismissed all claims over which it has original
    7
        jurisdiction.” 28 U.S.C. § 1367(c)(3). “In the usual case in which all federal-law
    8
        claims are eliminated before trial, the balance of factors to be considered under the
    9
        pendent jurisdiction doctrine—judicial economy, convenience, fairness, and
   10
        comity—will point toward declining to exercise jurisdiction over the remaining state-
   11
        law claims.” Sanford v. MemberWorks, Inc., 625 F.3d 550, 561 (9th Cir. 2010)
   12
        (citation omitted).
   13
              If the Court dismisses McGowan’s RICO claims, no federal claims will remain
   14
        over which the Court has original jurisdiction. With only state claims remaining, and
   15
        with the case still in its earliest stages, “the interests of comity and fairness” support
   16
        dismissal of the remainder of the Complaint. Munoz v. Shorter, No. 2:18-cv-9054-
   17
        ODW, 2019 WL 6310265, at *3 (C.D. Cal. Nov. 25, 2019) (declining to exercise
   18
        supplemental jurisdiction after resolving federal claim on summary judgment); see
   19
        also, e.g., Stissi v. Bag Fund, LLC, No. 5:17-cv-534-ODW, 2018 WL 354611, at *5
   20
        (C.D. Cal. Jan. 10, 2018) (declining to exercise supplemental jurisdiction after
   21
        granting motion to dismiss federal claims); Rosenblatt v. City of Santa Monica, No.
   22
        2:16-CV-04481-ODW, 2017 WL 2909404, at *1 (C.D. Cal. May 24, 2017), aff'd, 940
   23
        F.3d 439 (9th Cir. 2019) (same, even after finding that one of plaintiff’s state law
   24
        claims was well-pled).
   25
   26
   27   4
        Because McGowan fails to state a RICO claim under 18 U.S.C. § 1962(c), her RICO conspiracy
      claim under § 1962(d) must be dismissed as well. See Howard v. Am. Online, Inc., 208 F.3d 741,
   28
      751 (9th Cir. 2000).
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    1 II.      If the Court Exercises Supplemental Jurisdiction Over McGowan’s
    2          Remaining State Claims, They Should Be Dismissed with Prejudice.
    3           A.    McGowan Fails to State a Claim Under CDAFA.
    4          To protect “computer data and computer systems,” Cal. Penal Code § 502(a),
    5 California’s Computer Data Access and Fraud Act (“CDAFA”) prohibits 14 specified
    6 types of computer access, see id. § 502(c)(1)–(14). McGowan previously failed to
    7 state a claim based on one type of prohibited access, and now she tries two others.
    8 See Compl. at 50 (citing Cal. Penal Code § 502(c)(2), (c)(7)). Even as amended,
    9 McGowan’s Complaint fails to state a claim under CDAFA for two reasons: (1) she
   10 has not sufficiently alleged a CDAFA violation because she did not allege that her
   11 computer was “accessed” within the meaning of the statute; and (2) she has not
   12 pleaded (or actually suffered) the sort of damage or loss that is actionable under
   13 CDAFA’s civil remedy provision.
   14       First, McGowan fails to allege an “access” under CDAFA. Both of the CDAFA
   15 prohibitions now at issue require that the defendant must have “accesse[d]” the
   16 plaintiff’s computer. Cal. Penal Code § 502(c)(2), (c)(7). McGowan alleges that she
   17 “allowed [a Black Cube agent] to read part of the book on McGowan’s laptop” on
   18 May 13, 2017. Compl. ¶ 96; see also Compl. ¶ 202.5 But “accessing” a computer
   19 under CDAFA requires more than just looking at visible information on a computer
   20 screen. The statute defines “access” to mean “gain entry to, instruct, cause input to,
   21 cause output from, cause data processing with, or communicate with, the logical,
   22 arithmetical, or memory function resources of a computer.” Cal. Penal Code
   23 § 502(b)(1). Per this statutory definition, “access” under CDAFA requires some sort
   24
   25   The other supposed “accesses” that McGowan references in the Complaint are pleaded as pure
        5

      speculation. See Compl. ¶ 122 (alleging that “McGowan now believes” that a Black Cube agent
   26 stole information from her computer while she was in the bathroom during a meeting in July 2017);
      Compl. ¶ 129 (alleging without any factual context or detail that McGowan “believes that
   27 Defendants knowingly accessed [her] computer again” during a meeting in September 2017). As
   28 the Court noted previously, “a court need not blindly accept conclusory allegations, unwarranted
      deductions of fact, and unreasonable inferences.” Dismissal Op. at 7.
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    1 of interaction between the computer and the person accessing it. See Lateral Link
    2 Grp., LLC v. Springut, No. CV14-5696-JAK, 2015 WL 12778396, at *8 (C.D. Cal.
    3 Sept. 22, 2015) (dismissing CDAFA claim based on statutory definition of “access”);
    4 see also, e.g., Facebook, Inc. v. Power Ventures, Inc., No. C 08-05780 JW, 2010 WL
    5 3291750, at *7 (N.D. Cal. July 20, 2010) (unauthorized access requires overcoming
    6 “technical or code-based barriers”). Simply reading visible information on a
    7 computer screen does not constitute “accessing” the computer under CDAFA, and
    8 thus McGowan has failed to plead a CDAFA violation.
    9          Second, even if McGowan had properly alleged a CDAFA violation, CDAFA
   10 grants a civil remedy only to one who “suffers damage or loss by reason of a
   11 violation.” Cal. Penal Code § 502(e)(1). With the phrase “by reason of a violation,”
   12 CDAFA demands that the plaintiff’s damage or loss must have been proximately
   13 caused by the prohibited computer access. Cf. Holmes v. Sec. Inv. Prot. Corp., 503
   14 U.S. 258, 268 (1992) (holding that RICO’s “by reason of a violation” language
   15 imposes a proximate cause requirement). A civil action under CDAFA may seek
   16 “compensatory damages,”6 and the statute clarifies that “[c]ompensatory damages
   17 shall include any expenditure reasonably and necessarily incurred by the owner or
   18 lessee to verify that a computer system, computer network, computer program, or data
   19 was not altered, damaged, or deleted by the access.” Cal. Penal Code § 502(e)(1).
   20 Actionable losses under CDAFA are generally rooted in the costs of investigating and
   21 remedying a computer intrusion and not the kind of ephemeral losses McGowan
   22 alleges. See, e.g., Ticketmaster L.L.C. v. Prestige Entm’t West, Inc., 315 F. Supp. 3d
   23 1147, 1173 (C.D. Cal. 2018) (costs of “expanding security to identify and block bots”
   24 and “hiring third-party consultants to implement additional bot mitigation
   25 measures”); Mintz v. Mark Bartelstein and Assocs., Inc., 906 F. Supp. 2d 1017, 1032
   26
   27
        6
         The statute also permits non-monetary remedies—“injunctive relief or other equitable relief.” Cal.
   28
        Penal Code § 502(e)(1).
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    1 (C.D. Cal. 2012) (time spent restoring password and investigating who had hacked
    2 email account).
    3        Even if the losses that McGowan has alleged are appropriate under CDAFA,
    4 they are far too vague, and far too distant from the alleged computer access, to have
    5 been proximately caused by a CDAFA violation. In her CDAFA claim, McGowan
    6 alleges that “Defendants’ conduct caused a loss to McGowan, because it enabled them
    7 to obtain sensitive, non-public information that prepared Defendants to discredit and
    8 malign McGowan publicly, undermining her book, commercial projects, and
    9 reputation.” Compl. ¶ 206.
   10        But McGowan never alleges any instance in which any Defendant actually
   11 discredited or maligned her publicly using information obtained from her book. In
   12 one paragraph McGowan alleges that Defendants Weinstein and Bloom, in
   13 conversations with reporters, “attempted to use the information gained by
   14 Defendants’ conspiracy to paint McGowan as mentally unstable and completely
   15 incredible,” Compl. ¶ 138 (emphasis added), but crucially, McGowan concedes that
   16 “the[se] efforts were unsuccessful.” Compl. ¶ 139 (emphasis added). Elsewhere
   17 McGowan alleges that Weinstein attempted to discredit her publicly, but not with any
   18 information that was plausibly obtained from her book manuscript. See Compl. ¶ 133
   19 (alleging that, in September 2017, “Weinstein and his agents discussed leaking a story
   20 about McGowan’s drug charges,” but indicating that McGowan was not otherwise
   21 planning to disclose the charges herself—i.e., that the information did not come from
   22 her book manuscript); Compl. ¶ 148 (alleging that Weinstein released a statement
   23 asserting that two witnesses disputed McGowan’s rape allegations and providing
   24 photos of McGowan and Weinstein together in public).
   25        Without ever alleging that any Defendant used information from her computer
   26 to publicly malign or discredit her, McGowan cannot use such circumstances as a
   27 theory of how she was injured by reason of a CDAFA violation. See, e.g.,
   28 NovelPoster v. Javitch Canfield Grp., 140 F. Supp. 3d 938, 949–51 (N.D. Cal. 2014)

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    1 (dismissing CDAFA claim because allegations of loss were “entirely speculative” and
    2 “devoid of any specific details from which a factfinder could calculate an amount of
    3 loss”).
    4
            B.      McGowan Fails to State a Claim for Intentional Infliction of
    5
                    Emotional Distress.
    6
              McGowan has reasserted a claim for IIED based on allegations of Defendants
    7
        “lying to her [and] causing her to be lied to, seeking to gain and abuse her trust.”
    8
        Compl. ¶ 209. As in her original Complaint, McGowan’s IIED claim “is untimely on
    9
        its face” because it “relies on actions that occurred before October 23, 2017”—two
   10
        years before she filed this lawsuit. Dismissal Op. at 29; see Kaldis v. Wells Fargo
   11
        Bank, N.A., 263 F. Supp. 3d 856, 867 (C.D. Cal. 2017) (“An IIED claim is subject to
   12
        a two-year statute of limitations.”).
   13
              Although McGowan has added new allegations regarding when she learned
   14
        certain facts, she still has not done enough to excuse her untimeliness under the
   15
        “discovery rule.” To pursue an otherwise time-barred IIED claim, McGowan “must
   16
        specifically plead facts to show (1) the time and manner of discovery and (2) the
   17
        inability to have made earlier discovery despite reasonable diligence.” Plumlee v.
   18
        Pfizer, Inc., 664 F. App’x 651, 653 (9th Cir. 2016) (citation and italics omitted). The
   19
        critical date for purposes of the discovery rule, when the statute of limitations begins
   20
        to run, is “when the plaintiff suspects or should suspect” a factual basis for the
   21
        elements of the cause of action. Jolly v. Eli Lilly & Co., 44 Cal. 3d 1103, 1110 (1988).
   22
              McGowan fails to specifically plead when she first suspected, or had reason to
   23
        suspect, the alleged wrong underlying her IIED claim—i.e. that individuals working
   24
        with Weinstein were lying to her in order to gain her trust. For example, nowhere in
   25
        the Complaint does McGowan indicate when she first suspected, or had reason to
   26
        suspect, that individuals working with Weinstein were using deceptive investigatory
   27
        tactics. Nowhere does McGowan indicate when she first suspected, or had reason to
   28

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    1 suspect, that Weinstein was seeking information related to her accusations against
    2 him. Nowhere does McGowan allege when she first suffered emotional distress as a
    3 result of Weinstein’s investigative efforts.
    4        McGowan’s new allegations regarding the timing of discovery are carefully
    5 limited to narrow facts and do not address when she first suspected, or had reason to
    6 suspect, the main thrust of her IIED claim. McGowan alleges that November 5–6,
    7 2017, was when she first learned the identity of the Black Cube agent. Compl. ¶ 143.
    8 But the identity of the defendant is immaterial to whether McGowan can invoke the
    9 discovery rule. See Norgart v. Upjohn Co., 21 Cal. 4th 383, 399 (1999) (“[F]ailure to
   10 discover, or have reason to discover, the identity of the defendant does not postpone
   11 the accrual of a cause of action, whereas a like failure concerning the cause of action
   12 itself does.”). McGowan also alleges that November 5–6, 2017 was when she first
   13 learned that “she had been recorded without her consent,” and thus that Weinstein
   14 had obtained portions of her book. Compl. ¶ 143 (emphasis added). But the fact of
   15 having been recorded, while relevant, is not essential to the crux of McGowan’s IIED
   16 claim, which focuses on Defendants allegedly “lying to her, causing her to be lied to,
   17 [and] seeking to gain and abuse her trust.” Compl. ¶ 209.
   18        McGowan appears to have drafted carefully and deliberately in limiting her
   19 discovery allegations to these two facts—the identity of the Black Cube agent and the
   20 fact that she had been recorded. In McGowan’s original Complaint, she also alleged
   21 that she did not learn those two specific facts “until November 2017.” ECF 1 at ¶ 73
   22 (“What McGowan did not know then, and would not learn until November 2017, is
   23 that Filip was actually a former Israeli intelligence officer who worked for Black
   24 Cube.”); id. ¶ 78 (“McGowan did not know at that time, and would not learn until
   25 November 2017, that Filip was recording McGowan throughout these meetings
   26 without her consent in order to compile hours of information that were then shared
   27 with Weinstein, Boies, Bloom, and others.”). In both versions of her Complaint,
   28 McGowan never explains more broadly when she first suspected the main thrust of

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    1 her IIED claim. If McGowan truly had no reason to suspect, until November 5–6
    2 2017, that individuals working with Weinstein were using deception to learn about
    3 and prevent her planned public accusations against him, she needed to say so in her
    4 Complaint in order to satisfy her burden under the discovery rule.
    5     Far from meeting that burden, McGowan pleads facts affirmatively suggesting
    6 that she did have reason to suspect, before October 23, 2017, that individuals working
    7 with Weinstein were seeking to learn about and prevent publication of her book.
    8 McGowan alleges that, in March 2017, she was asked if she would speak with Lisa
    9 Bloom, who wanted to “convince” her that Weinstein was a changed man, presumably
   10 so that she would decide not to air her allegations against him. Compl. ¶ 88. And
   11 sometime before “summer turned to fall” in 2017, Compl. ¶ 133, McGowan was
   12 approached by an attorney who offered her $1 million “to drop publication of the book
   13 and to enter into a non-disclosure agreement with Weinstein.” Compl. ¶ 132. Then,
   14 in September 2017, McGowan alleges that Ronan Farrow learned that Bloom was
   15 working with Weinstein, Compl. ¶ 134–36, and “[i]n late October 2017” (on an
   16 unspecified date), she alleges that Farrow “learned from Seth Freedman of the
   17 existence and involvement of Israeli spy company Black Cube in Weinstein’s efforts
   18 to silence victims.” Compl. ¶ 142. The timing of Farrow’s discoveries is particularly
   19 significant because McGowan and Farrow were in touch about Weinstein beginning
   20 in January 2017. See Ronan Farrow, Catch and Kill at 36 (Little, Brown & Co.
   21 2019).7
   22         Especially in light of these allegations, which affirmatively suggest that
   23 McGowan may have had reason to suspect (or even been told) that individuals
   24 working with Weinstein were seeking to learn about and prevent publication of her
   25 book (including through deception), McGowan was required to specifically plead
   26
   27  McGowan’s Complaint is based in part on the contents of this book, as she acknowledges. Compl.
        7

      ¶ 153. Its contents are thus incorporated by reference and are fairly considered on a motion to
   28
      dismiss. See United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
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    1 facts establishing when she first had reason to suspect the basis for her IIED claim.
    2 Because she has again failed to do so, her IIED claim should be dismissed as untimely.
    3         Even if the claim were timely (it is not), McGowan has failed to adequately
    4 state a claim for IIED. A claim for IIED requires: “(1) extreme and outrageous
    5 conduct by the defendant with the intention of causing, or reckless disregard for the
    6 probability of causing, emotional distress; (2) the plaintiff’s suffering severe or
    7 extreme emotional distress; and (3) actual and proximate causation of the emotional
    8 distress by the defendant’s outrageous conduct.” Hughes v. Pair, 46 Cal. 4th 1035,
    9 1050 (2009). “[T]he defendant’s conduct must be intended to inflict injury or engaged
   10 in with the realization that injury will result.” Id. at 1051 (citation omitted).
   11        As in her original Complaint, McGowan has failed to allege “extreme and
   12 outrageous” conduct by Black Cube with intentional or reckless disregard for her
   13 emotional well-being. McGowan repeats wholesale from her original Complaint and
   14 accuses Defendants of “lying to her” and “seeking to gain and abuse her trust”—
   15 conduct that she alleges caused her emotional distress by “shatter[ing] [her] trust in
   16 others.” Compl. ¶¶ 209, 214. But lying to somebody—even about a matter of deep
   17 emotional concern—generally does not alone support an IIED claim. See, e.g.,
   18 McMahon v. Craig, 176 Cal. App. 4th 1502, 1517 (2009) (affirming dismissal of IIED
   19 claim where veterinarian, who “knew of [the plaintiff’s] close attachment” to her dog,
   20 allegedly lied to the plaintiff to conceal that the veterinarian’s malpractice had caused
   21 the dog’s death). McGowan alleges that her emotional distress resulted not from any
   22 lie itself, but from discovering that she had been lied to, Compl. ¶ 149, a result which
   23 Defendants obviously did not intend (or recklessly allow).
   24         In particular, deception in the context of an undercover investigation generally
   25 does not support an IIED claim. See Ouderkirk v. People for Ethical Treatment of
   26 Animals, Inc., No. 05-10111, 2007 WL 1035093, at *23 (E.D. Mich. Mar. 29, 2007)
   27 (collecting cases). As the court in Ouderkirk explained:
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    1        Undercover investigations are one of the main ways our criminal justice
    2        system operates. In addition, television shows like PrimeTime Live and
             Dateline often conduct undercover investigations to reveal improper,
    3        unethical, or criminal behavior. Often, these investigations involve
    4        misrepresentations and deception by the investigators. The Court
             cannot conclude that an undercover investigation is “intolerable” in
    5        contemporary society.
    6 Id. (emphasis added); see also, e.g., Creel v. I.C.E. & Assocs., 771 N.E.2d 1276, (Ind.
    7 Ct. App. 2002) (rejecting IIED claim where employee of private detective agency,
    8 while investigating possible insurance fraud, lied in order to enter church during
    9 worship services so as to covertly videotape the plaintiff). In short, even if McGowan
   10 could overcome the statute of limitations, she cannot overcome the fatal deficiencies
   11 in her IIED claim. It should be dismissed.
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    1                                     CONCLUSION
    2
              For the foregoing reasons, McGowan’s RICO claims should be dismissed with
    3
        prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6). The remainder of the
    4
        Complaint should be dismissed without prejudice pursuant to 28 U.S.C. § 1367(c)(3).
    5
        DATED: March 23, 2021               Respectfully submitted,
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    7
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